         Case 1:16-cv-05475-AKH Document 84 Filed 03/28/18 Page 1 of 7



                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK



TWIN SECURITIES, INC., et al.,

                            Plaintiffs,

v.
                                           Civil Action No.: 1:15-cv-01291-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                            Defendants.

HG VORA SPECIAL OPPORTUNITIES
MASTER FUND, LTD.,

                            Plaintiff,

v.
                                           Civil Action No.: 1:15-cv-04107-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                            Defendants.

(caption continued on following page)


      DIRECT ACTION PLAINTIFFS’ RULE 56.1 STATEMENT OF UNDISPUTED
            MATERIAL FACTS IN SUPPORT OF THEIR MOTION FOR
     PARTIAL SUMMARY JUDGMENT AGAINST DEFENDANT BRIAN S. BLOCK
         Case 1:16-cv-05475-AKH Document 84 Filed 03/28/18 Page 2 of 7



BLACKROCK ACS US EQUITY TRACKER
FUND, et al.,

                            Plaintiffs,

v.
                                           Civil Action No.: 1:15-cv-08464-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                            Defendants.

PIMCO FUNDS: PIMCO DIVERSIFIED
INCOME FUND, et al.,

                            Plaintiffs,

v.
                                           Civil Action No.: 1:15-cv-08466-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                            Defendants.

CLEARLINE CAPITAL PARTNERS LP, et al.,

                            Plaintiffs,

v.
                                           Civil Action No.: 1:15-cv-08467-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                            Defendants.

(caption continued on following page)
         Case 1:16-cv-05475-AKH Document 84 Filed 03/28/18 Page 3 of 7



PENTWATER EQUITY OPPORTUNITIES
MASTER FUND LTD., et al.,

                            Plaintiffs,

v.
                                           Civil Action No.: 1:15-cv-08510-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                            Defendants.

ETON PARK FUND, L.P. and ETON PARK
MASTER FUND, LTD.,

                            Plaintiffs,

v.
                                           Civil Action No.: 1:16-cv-09393-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                            Defendants.

RELIANCE STANDARD LIFE INSURANCE
COMPANY, et al.,

                            Plaintiffs,

v.
                                           Civil Action No.: 1:17-cv-02796-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                            Defendants.

(caption continued on following page)
        Case 1:16-cv-05475-AKH Document 84 Filed 03/28/18 Page 4 of 7



JET CAPITAL MASTER FUND, L.P., et al.,

                        Plaintiffs,

v.
                                          Civil Action No.: 1:15-cv-00307-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                        Defendants.


ARCHER CAPITAL MASTER FUND, L.P.,
et al.,

                        Plaintiffs,

v.
                                          Civil Action No.: 1:16-cv-05471-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                        Defendants.

ATLAS MASTER FUND, LTD., et al.,

                        Plaintiffs,

v.
                                          Civil Action No.: 1:16-cv-05475-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                        Defendants.

FIR TREE CAPITAL OPPORTUNITY
MASTER FUND, L.P., et al.,

                        Plaintiffs,

v.
                                          Civil Action No.: 1:17-cv-04975-AKH
AMERICAN REALTY CAPITAL
PROPERTIES, INC., et al.,

                        Defendants.
            Case 1:16-cv-05475-AKH Document 84 Filed 03/28/18 Page 5 of 7



       Pursuant to Rule 56.1 of the Local Civil Rules of the United States District Courts for the

Southern and Eastern Districts of New York, the Direct Action Plaintiffs (“Plaintiffs”) hereby

submit the following material facts as to which Plaintiffs contend there is no genuine issue to be

tried in this matter. Capitalized terms used but not defined herein shall have the meanings ascribed

to them in the Memorandum of Law in Support of Plaintiffs’ Motion for Partial Summary

Judgment Against Defendant Brian S. Block, dated March 28, 2018, and filed herewith.

                              UNDISPUTED MATERIAL FACTS

       1.       On September 7, 2016, the United States Attorney for the Southern District of New

York filed an Indictment against Brian Block in this District, which asserted six counts against

Block: (1) securities fraud; (2) false statements in filings with the SEC regarding ARCP’s 2014

Second Quarter 10-Q; (3) false statements in filings with the SEC regarding ARCP’s 2014 Second

Quarter 8-K; (4) false certification of disclosure filed with the SEC; (5) false certifications filed

with the SEC (18 U.S.C. § 1350); and (6) conspiracy to commit securities fraud, to make false

filings with the SEC, and to falsify books and records. A true and correct copy of the Indictment

is attached to the Declaration of Jonathan D. Uslaner in Support of the Direct Action Plaintiffs’

Motion for Partial Summary Judgment Against Brian S. Block (“Uslaner Decl.”) as Exhibit 1.

       2.       On June 30, 2017, the jury delivered its verdict, finding Block guilty of all six

counts, including securities fraud. True and correct copies of excerpts of the June 30, 2017 trial

transcript and the jury’s verdict form are attached to the Uslaner Decl. as Exs. 4 and 5, respectively.

       3.       Block’s criminal trial lasted approximately three weeks. Uslaner Decl., Ex. 4.

       4.       During his trial, Block was represented by four attorneys from the international law

firm of Steptoe & Johnson, LLP. Uslaner Decl., Ex. 4.




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Case 1:16-cv-05475-AKH Document 84 Filed 03/28/18 Page 6 of 7
Case 1:16-cv-05475-AKH Document 84 Filed 03/28/18 Page 7 of 7
